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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

KANUSZEWSKI, et al.

                       Plaintiffs,                            Case. No. 18-cv-10472

v.                                                            Honorable Thomas L. Ludington
                                                              Magistrate Judge Patricia T. Morris
MICHIGAN DEPARTMENT OF HEALTH
AND HUMAN SERVICES, et al.

                  Defendants.
__________________________________________/

     ORDER DENYING MOTION TO STRIKE AND GRANTING MOTION FOR AN
                            EXTENSION

       Plaintiffs moves to strike Defendants’ motion to dismiss because it references materials

outside the pleadings and attaches exhibits. ECF No. 23.

       Federal Rule of Civil Procedure 12(f) permits the court to “strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” A motion

to dismiss is not a pleading. See Fed. R. Civ. Pro. 7(a). Therefore, the motion will be denied.

Rhea v. Dollar Tree Stores, Inc., 395 F. Supp. 2d 696, 702 (W.D. Tenn. 2005) (finding Rule

12(f) inapplicable to exhibits attached to a memorandum in support of a motion to dismiss and

denying motion to strike). If Plaintiffs wish to litigate the propriety of the Defendants’ exhibits or

the references made in Defendants’ motion, the proper vehicle for this is a response brief.

       Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiffs’ response brief deadline will

be extended to 21 days from the date of this order.

       Accordingly, it is ORDERED that the motion to strike (ECF No. 23) is DENIED.
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         It is further ORDERED that motion for an extension, ECF No. 24, is GRANTED, and

Plaintiffs’ deadline to file a response to the motion to dismiss is EXTENDED until May 16,

2018.

                                                                             s/Thomas L. Ludington
                                                                             THOMAS L. LUDINGTON
                                                                             United States District Judge
Dated: April 25, 2018




                                                 PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on April 25, 2018.

                                                          s/Kelly Winslow
                                                          KELLY WINSLOW, Case Manager




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